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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                                §
   In re:                                       §           Chapter 11
                                                §
   HIGHLAND CAPITAL                             §           Case No. 19-34054-sgj11
   MANAGEMENT, L.P.,                            §
                                                §
                                                §
                Debtor.

        STIPULATION EXTENDING JAMES P. SEERY, JR.’S DEADLINE
        TO FILE RESPONSE TO THE DUGABOY INVESTMENT TRUST’S
     MOTION TO PRESERVE EVIDENCE AND COMPEL FORENSIC IMAGING

       Subject to this Court’s approval, James P. Seery, Jr. and The Dugaboy Investment Trust

enter into this stipulation (the “Stipulation”) extending the deadline for Mr. Seery to file his

response brief (the “Response”) to The Dugaboy Investment Trust’s Motion to Preserve Evidence

and Compel Forensic Imaging of James P. Serry, Jr.’s iPhone [Docket No. 3802] to Friday,

July 7, 2023.




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DATED: June 15, 2023


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                                CERTIFICATE OF SERVICE

        The undersigned certifies that on June 15, 2023, a true and correct copy of the foregoing
will be electronically mailed to the parties that are registered or otherwise entitled to receive
electronic notices in this case pursuant to the Electronic Filing Procedures in this District.

                                                    /s/ Omar J. Alaniz
                                                    Omar J. Alaniz




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